                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
____________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,
      v.                                                         Case No. 08-CR-231

DAVID R. MEDINA,

               Defendant.
____________________________________________

                                      ORDER

      On September 3, 2008, a federal grand jury in the Eastern District of

W isconsin returned a three-count indictment against defendant David Medina

(“Medina”) and others. The defendant was charged in two of the three counts. In

Count One, the defendant was charged with conspiring to distribute and possess

with the intent to distribute five kilograms or more of a controlled substance in

violation of 21 U.S.C. § 841(b)(1)(A) and 846, and 18 U.S.C. § 2. In Count Two, the

defendant was charged with knowingly and intentionally distributing a controlled

substance in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.

The indictment also contains a forfeiture provision.

      On April 14, 2010, the defendant appeared before United States Magistrate

Judge W illiam E. Callahan, Jr., for arraignment, entering a plea of not guilty. Then,

on June 10, 2010, Medina filed a motion to suppress evidence as a result of the

illegal search of his home. (Docket #84). This motion was amended on October 11,

2010. (Docket #93).



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      An evidentiary hearing was held on this motion on October 14, 2010, and

continued on November 5, 2010. In moving to suppress evidence, the defendant

asserted that law enforcement officers did not have consent to enter his home and

did not have consent to search the home. At the hearing, the government

acknowledged that law enforcement officers did not have consent to enter the home.

However, the government asserts the law enforcement officers lawfully entered the

home based on exigent circumstances.            On January 13, 2011, United States

Magistrate Judge Patricia J. Gorence issued a recommendation to this court that

defendant’s amended motion to suppress the evidence obtained during the initial

entry and search of the bathroom be granted and the defendant’s amended motion

to suppress evidence obtained during the second search of the residence be denied.

(Docket #120). Medina subsequently filed an objection to the Magistrate’s

recommendation. After de novo review of the motion, this court will adopt the

recommendation in its entirety.

                                   BACKGROUND

      On April 13, 2010, Special Agent Jeffrey Hale, DEA Task Force Officer (TFO)

Ben Langer, and DEA Supervisory Special Agent Robert J. Bell were part of a team

of approximately eight to ten law enforcement officers who were conducting

surveillance on the defendant’s residence. The purpose of the surveillance was to

execute a federal arrest warrant for the defendant on drug charges. The agents

arrived in the proximity of the home and began surveillance at approximately 2:30




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p.m. They were in plain clothes, wearing bulletproof vests, and arrived in unmarked

vehicles.

      Special Agent Hale testified that earlier that day he had been “provided with

a photograph of the defendant.” (Tr. 1 at 11). He also testified that he was familiar

with the defendant because his name had come up in prior investigations and he

had seen the defendant before while conducting surveillance. (Tr. 1 at 12). At

approximately 3:45 p.m., Agent Hale saw a green Infiniti vehicle – thought to be the

defendant’s – approach the residence and park at the curb across the street. Agent

Hale and TFO Langer ordered the two occupants out of the car at gunpoint. The

defendant was not in the car. The two occupants were ordered to the ground and

handcuffed.

      At this time, Agent Hale noticed a white Honda approaching. He recognized

the car as belonging to Leah Moe (“Ms. Moe”), the defendant’s girlfriend. He also

noticed that Ms. Moe was driving the vehicle with another passenger in the front of

the car. Special Agent Hale testified that he could not determine who the passenger

was or if there were more people in the car. Special Agent Hale alerted Supervisory

Agent Bell to the white Honda. Agent Hale testified that he asked Supervisory Agent

Bell to handle the situation involving the white Honda and observed Agent Bell and

TFO Langer stop the vehicle and order the occupants to exit the car. Supervisory

Agent Bell testified that he and Agent Hale, not TFO Langer, approached the car and

asked the individuals to identify themselves, detaining the two women, later identified

as Ms. Moe and Alma Estrada. Ms. Moe was handcuffed. It is unclear whether Ms.


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Estrada was handcuffed because she was pregnant. The two women were placed

in a law enforcement vehicle while Agent Bell and the others went into the residence.

Later, both women were brought inside the home. Other agents arrived at the scene

and were located with the occupants of the green Infiniti.

       At about the same time that he noticed the white Honda, Agent Hale saw two

men emerge from the south side of the defendant’s residence. He observed one

man, later identified as the defendant’s neighbor, Francis Daleccio, turn and walk

away from the home. Agent Hale testified that the other man, later identified as

Abraham Gutierrez, began to run toward the front door of the home. According to

Agent Hale, he shouted for the man to stop, identified himself as police, and “ran

after him.” (Tr. 1 at 19).

       Special Agent Hale testified that when he reached the front door, he found it

slightly ajar and he ran through it, encountering a young teenager across the

threshold. (Tr. 1 at 20). Special Agent Hale asked him where the man went and the

teenager, later identified as Steven Estrada, did not respond. On the other hand,

Steven Estrada testified that upon hearing noises outside, he and his uncle,

Abraham Gutierrez, went outside to the front of the house and found no one there,

so they went back inside. (Tr. 2 at 187). About five or six minutes later, he heard a

knock on the door. W hen he answered it, he saw two men in vests, who he figured

were police officers. He did not recall what they said, but they asked to speak with

an adult and he turned to get one, leaving the door “open a little bit.” (Tr. 2 at 185).




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Steven Estrada then walked toward the kitchen to find his uncle. W hen he turned

around, he noticed the officers had followed him into the home.

      Though it is disputed how he came to be in the residence, once inside, Agent

Hale testified that he saw the man he chased emerge from a small hallway. Agent

Hale thought the man had come from the bathroom. Agent Hale immediately placed

the man in handcuffs and took him outside.

      Special Agent Hale testified that during his detainment of Gutierrez, he noticed

that TFO Langer was also in the home with him. They conducted a protective sweep

of the residence to search for other people and to ensure officer safety. As part of

that sweep, Agent Hale entered the bathroom and noticed a whitish powder in the

air. He also found a plastic bag resting on the toilet bowl and two plastic bags and

a white powder in the toilet. Agent Hale took these bags as evidence as well as

recovered a sample of the white powder residue.

      All of the individuals detained during the incident were eventually brought into

the residence. This included Gutierrez, Ms. Moe, Alma Estrada, the two men from

the green Infiniti, the defendant’s neighbor, Steven Estrada, and Gutierrez’s two-

year-old son. Everyone except Alma Estrada, Steven Estrada, and the two-year-old

were in handcuffs and brought into the living room. After only a few minutes, Ms.

Moe was taken into the kitchen. According to Agent Bell, the atmosphere in the

living room was “under control and relaxed.” (Tr. 1 at 69).

      After Ms. Moe was taken from the living room, Supervisory Agent Bell testified

that he and TFO Langer asked for her permission to search the residence. She did


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not give consent at that time. Ms. Moe expressed concern that the others may

overhear the conversation and be upset with her if she consented to the search

because they also lived in the residence. Ms. Moe asked the agents several times

why they were in her home and whether they had a warrant. Ms. Moe testified that

the officers told her they would obtain a warrant if she did not consent and if they had

to obtain the warrant, they would end up “tearing up the house, the walls.” (Tr. 2 at

161).

        The law enforcement agents asked Ms. Moe about the defendant’s

whereabouts several times and she explained he was at work and would not be

home until five or five-thirty. At one point, she became “frustrated” and “put [her]

head down. And just stayed quiet.” (Tr. 2 at 165, 167). At another point, she became

thirsty and one of the agents held a soda to her lips because she was in handcuffs.

Ms. Moe testified that the agents kept saying they were waiting for Agent Jesus

Sandoval, the case agent. (Tr. 2 at 167). Agent Bell testified that he planned to

have Agent Sandoval speak with Ms. Moe regarding her consent to search and to

get a search warrant if necessary. Around five o’clock, approximately one hour after

the individuals were brought into the residence, Agent Sandoval arrived. He spoke

with Ms. Moe. According to Ms. Moe, her conversation with Agent Sandoval was

“rational” and “fairly low-key.” (Tr. 2 at 175). At the end of the conversation (there is

some disagreement over how long the two spoke), Ms. Moe agreed to permit the

agents to search the residence. She was uncuffed so she could sign the consent

form and then was placed back in handcuffs. This occurred around 5:25 p.m. The


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agents proceeded to search the home. They left the residence at approximately 9:00

p.m or 9:20 p.m. The individuals detained in the residence remained in handcuffs

until shortly before the law enforcement officers left.

      After the search, TFO Langer prepared a written report. Agent Bell reviewed

the report several times, but acknowledged at the hearing that the report contained

some mistakes. (Tr. 1 at 80). The report contained a number of statements that were

contrary to the testimony at the hearing. According to the report, Agent Hale knocked

on the front door of the residence and received consent to enter from Steven

Estrada. At the hearing, the government conceded that Agent Hale did not receive

consent to enter the premises. The report reads that Agent Hale and TFO Langer

entered the home together. In addition, the report does not indicate that any agent

ran after an individual running into the home. The report also reads that Agent

Sandoval arrived at the residence at about 3:55 p.m. but testimony indicates he

arrived at approximately 5:00 p.m.

                             STANDARD OF REVIEW

      Pursuant to 28 U.S.C. § 636(b)(1)(B), a magistrate judge may consider

dispositive motions, such as motions to suppress, and issue recommendations to the

district judge regarding the motions. See id. W hen a party objects to a magistrate's

findings, the district court judge must make de novo determinations as to these

findings. See id. § 636(b)(1)(C); see also Delgado v. Bowen, 782 F.2d 79 (7th Cir.

1986). The district court may adopt the recommendation in part or in its entirety and

has the final authority of judgment in the case. Delgado, 782 F.2d at 82.          If


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necessary, the district court “may also receive further evidence or recommit the

matter to the magistrate judge with instructions.” 28 U.S.C. § 636(b)(1). The court

has reviewed the evidence and finds it sufficient to make factual determinations on

those records alone.

                                             ANALYSIS

         The first issue for the court involves the initial entry into the residence by

Special Agent Hale and the search of the bathroom that occurred following that

entry.1 The second issue is the search of the full residence that occurred later in the

evening.

I.       Initial Entry and Search of Bathroom

         The government asserts that Agent Hale’s initial entry into the residence and

subsequent search of the bathroom were authorized under the exigent

circumstances doctrine, arguing that Agent Hale had an objectively reasonably belief

that the man he was chasing was attempting to destroy evidence. The government

also contends that it was objectively reasonable to suspect that it was the defendant

running into the house. Additionally, the government avers Agent Hale’s actions

were justified because he was concerned about officer safety.

         On the other hand, the defendant argues the initial entry by Agent Hale was

unlawful and that the government has failed to establish the presence of exigent

circumstances because it has presented no believable testimony supporting this



         1
             Neither party filed an objection regarding the magistrate’s recommendation on the first
issue.

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contention. Furthermore, the defendant contends that even if Agent Hale’s version

of events is true, those facts still did not provide him with the requisite exigent

circumstances to lawfully enter the residence. Lastly, the defendant asserts that

even if exigent circumstances were present, the exigency was manufactured by the

agents at the scene and, therefore, the warrantless home entry was not justified.

      The Fourth Amendment protects individuals from all unreasonable searches

and seizures and “has drawn a firm line at the entrance to the house.” Payton v.

New York, 445 U.S. 573, 590 (1980). Absent probable cause and exigent

circumstances, “that threshold may not reasonably be crossed without a warrant.”

Id.; Kirk v. Louisiana, 536 U.S. 635, 638 (2002). The exigent circumstances doctrine

recognizes that a warrantless entry by law enforcement officials “‘may be legal when

there is compelling need for official action and no time to secure a warrant.’” United

States v. Fiasche, 520 F.3d 694, 698 (7th Cir. 2008) (quoting Michigan v. Tyler, 436

U.S. 499, 509 (1978)). The government bears the burden of proving that its officials

had an objectively reasonable belief that exigent circumstances existed at the time

of their warrantless entry into a private residence. United States v. Foxworth, 8 F.3d

540 (7th Cir. 1993).    The exigent circumstances doctrine requires a court to

determine whether the exceedingly strong privacy interest in one’s residence is

outweighed by the risk that delay will engender injury, destruction of evidence, or

escape. United States v. Acevedo, 627 F.2d 68, 70 (7th Cir. 1980).

      Probable cause to support a search is established when, based on the totality

of the circumstances, there is “sufficient evidence to induce a reasonably prudent


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person to believe that a search will uncover evidence of a crime.” United States v.

Peck, 317 F.3d 754, 756 (7th Cir. 2003). Probable cause does not require certainty,

but it does require more than a mere suspicion. United States v. McNeese, 901 F.2d

585, 592 (7th Cir. 1990).

       Discrepancies exist among the official written report detailing the events on

the day of the search, the testimony presented on behalf of the government, and the

testimony presented on behalf of the defendant. The official report states that Agent

Hale and TFO Langer entered the home after knocking and receiving consent from

a young teenager. Steven Estrada and Francis Daleccio testified that two agents

knocked on the door, and Steven further stated that they followed him into the home

when he responded to their request to get an adult. On the other hand, Agent Hale

testified he ran straight into the home while following a man, and that he was alone

when he did so. The government concedes, contrary to the written report, that

Special Agent Hale did not receive permission to enter the home from Steven

Estrada or anyone else.          Therefore, the court is left to determine if exigent

circumstances justified Agent Hale’s entry into the home whether he ran into the

residence after another man or whether he knocked and followed a young teenager

into the residence. The court recognizes the merit of defendant’s contention that the

government has not met its burden in establishing exigent circumstances because

it did not present believable testimony.2 However, the court finds that any version



       2
         The defendant’s Brief in Support of his Motion to Suppress Evidence is rife with examples
of the inconsistencies and discrepancies in the government’s evidence.

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of events propounded by either party did not provide the government with exigent

circumstances to enter the home and, therefore, the court adopts Magistrate

Gorence’s recommendation granting the motion to suppress as to the initial entry

and subsequent search of the bathroom.

       First, though the agents had an arrest warrant for the defendant, an arrest

warrant only “carries with it the limited authority to enter a dwelling in which the

suspect lives when there is a reason to believe the suspect is within.” Payton v. New

York, 445 U.S. at 603; Wilson v. Layne, 526 U.S. 603, 611 (1999). W hen the agents

first arrived on the scene, they did not enter the residence but instead circled the

area and parked outside the residence, waiting for the defendant to “show up.” (Tr.

1 at 12-13). The officers knew that a vehicle thought to be the defendant’s was not

at the residence at that time. (Tr. 1 at 13). Thus, it is reasonable to conclude that at

this time, the agents had no reason to believe the defendant was inside the home.

      Moreover, the agents also had no reason to believe the defendant was inside

the home as events unfolded at the scene. Thus, the government may not rely on

its theory that Agent Hale followed the man into the home because he reasonably

believed it was the defendant to justify the home entry. The record indicates the

following: Agent Hale knew what the defendant looked like from prior surveillance

and a photograph. (Tr. 1 at 11-12). Agent Hale also testified that he did not know

where the defendant was and that he did not know who the man was that ran into

the residence. (Tr. 1 at 19). Accordingly, it is impossible to conclude that Agent Hale




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had a reasonable belief that the man running into the home was the defendant.

Thus, exigent circumstances did not exist on this basis.

       The court also concludes that seeing a man run into a residence, without

more, does not provide an objectively reasonable basis to believe that individual will

destroy evidence. First, the record does not demonstrate that Agent Hale had any

reason to believe there was evidence of any sort in the home, let alone that the man

running inside would destroy that evidence. The only reasoning given by the

government for Hale’s belief that the individual may have been attempting to destroy

evidence is that Agent Hale had been involved in hundreds of narcotics search

warrants.3 This argument does nothing to further the government’s position. Agent

Hale was at the residence to effectuate an arrest warrant, and nothing more. Though

admittedly, that arrest warrant was based on a federal drug trafficking indictment, it

does not necessarily follow that relevant evidence would be found in the residence.

If that were the case, or if the agents’ objectives were to search for relevant

evidence, then the law enforcement agents should have attempted to obtain a

search warrant in addition to the arrest warrant. Accordingly, the court finds the

government has failed to establish an objectively reasonable fear of destruction of

evidence and, thus, exigent circumstances did not exist on that basis.


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         The government also appears to argue that Agent Hale had an objectively reasonable fear
of destruction of evidence based on his observation of a powder mist in the air of the bathroom,
plastic baggies resting on the toilet bowl, and a white residue in the bowl which he suspected to be
cocaine, all of which he observed after entering the home. However, as the magistrate rightly
noted, this argument is based on a misconception of the exigent circumstances doctrine. Whether
an exigency exists must be evaluated at the time of the warrantless intrusion. United States v.
Robles, 37 F.3d 1260, 1263 (7th Cir. 1994). Therefore, reliance on evidence found after the
intrusion occurred cannot serve as a basis for application of the doctrine.

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      Lastly, the government attempts to justify Agent Hale’s home intrusion by

citing concerns over officer safety. W hile it is true that exigent circumstances exist

where “there is a reasonable belief by police that their safety or the safety of others

may be threatened,” United States v. Ware, 914 F.2d 997, 1000-01 (7th Cir. 1990),

here, the government has failed to establish a reasonable belief based on officer

safety concerns. Agent Hale initially stated he followed the man into the residence

over concerns for officer safety. (Tr. 1 at 19). W hen asked to elaborate, Agent Hale

stated as follows:

             W e had a lot of agents out on the street. There was a lot of
      chaos, I guess for lack of a better term. W e had several individuals
      detained. W e had one walking away from the residence. We had one
      running into the residence. Like I stated, I didn’t know where [the
      defendant] was. I didn’t know if the individual running into the house
      was [the defendant]. I wasn’t quite sure what was going on. So for my
      safety as well as the other officers’ safety, I ran in the house after him.

(Tr. 1 at 19). Though the court does not doubt the chaos of the scene, it cannot

conclude that officer safety was an objectively reasonable excuse for Hale to enter

the home. Agent Hale points to no specific reason why he believed the man running

into the home posed any danger to himself or the other officers on the scene. The

government also does not elaborate in this regard. Without more in the way of

objective facts indicating a reasonable belief to fear for officer safety, the court finds

that it was not reasonable to believe that a warrantless home entry was necessary

to protect the safety of the officers at the scene. Accordingly, the court agrees with

the magistrate’s recommendation and report finding the government has not




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established that exigent circumstances existed for the warrantless entry and all

evidence obtained as a result of that entry must be suppressed.

II.    Search of Full Residence

       W ith respect to the second search of the full residence, the government

asserts that Ms. Moe’s consent to search the residence was voluntarily given. If

found to be involuntarily given, the government contends that any evidence is still

admissible under the “inevitable discovery doctrine.” The government states that it

had probable cause to support a search warrant for the residence in light of the bags

and powder residue obtained from the bathroom as well as the fact that the house

was occupied by the defendant – the subject of a federal drug trafficking indictment

and arrest warrant – and thus, the evidence would have been discovered regardless

of whether Ms. Moe consented.

       The defendant responds by arguing Ms. Moe did not voluntarily consent to the

search of the home because the consent was the product of duress and coercion.

Specifically, the defendant asserts that Ms. Moe had been illegally arrested, detained

in handcuffs for several hours, never advised of any constitutional rights, questioned

repeatedly by different law enforcement agents in different parts of her home, told

that the agents would tear up the house if she did not consent and a search warrant

had to be obtained, and that the officer’s physically coerced Ms. Moe to obtain the

confession by keeping her in handcuffs and depriving her of liquids, except for a

small sip of soda. Additionally, the defendant argues the evidence obtained after the




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consent would not have been inevitably discovered because there was no probable

cause to support a search warrant for the home.

      “A warrantless search conducted pursuant to consent which is ‘freely and

voluntarily given’ does not violate the Fourth Amendment.” United States v. McGuire,

957 F.2d 310, 314 (7th Cir. 1992) (quoting Schneckloth v. Bustamonte, 412 U.S.

218, 222 (1973)). The consent cannot be the product of “duress, coercion, or

acquiescence to authority.” United States v. McGraw, 571 F.3d 624, 628 (7th Cir.

2009). The government bears the burden of proving that consent was voluntary by

a preponderance of the evidence. United States v. Johnson, 498 F.3d 536, 541 (7th

Cir. 2007). W hether consent was voluntary is a “question of fact to be determined

from the totality of all the circumstances.” McGraw, 571 F.3d at 628 (quoting

Schneckloth, 412 U.S. at 227). Factors bearing on this inquiry include:

      (1) the person's age, intelligence, and education, (2) whether he was
      advised of his constitutional rights, (3) how long he was detained before
      he gave his consent, (4) whether his consent was immediate, or was
      prompted by repeated requests by the authorities, (5) whether any
      physical coercion was used, and (6) whether the individual was in
      police custody when he gave his consent.

Id. at 628-29.

      There is evidence both supporting and weighing against a finding that consent

was freely given. Ms. Moe is an adult, with unknown education, and the magistrate

observed she “testified clearly and cogently in response to questions at the hearing.”

(Recommendation on Def.’s Mot. to Suppress Evidence at 17). The record also

demonstrates that Ms. Moe was sophisticated enough to ask the agents several



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times whether they had a search warrant for her home. Furthermore, Ms. Moe

testified that she signed the consent form, fully understanding what the form meant,

and following what she agreed was a “rational” and “fairly low-key” discussion with

Special Agent Sandoval that lasted between twenty to forty-five minutes. (Tr. 2 at

175). The consent form stated that she freely consented to the search and that she

was not threatened or coerced in any way. (Tr. 2 at 174). This signed statement is

strong evidence of the voluntariness of Ms. Moe’s consent. See United States v.

Saadeh, 61 F.3d 510, 518 (7th Cir. 1995) (noting signed consent form stating “I

freely consent to this search” as a factor indicating voluntariness). However, the

court notes that nowhere does the form advise Ms. Moe of her right to consult an

attorney or her right to withhold or withdraw consent. See United States v. Duran,

957 F.2d 499, 502 (7th Cir. 1992) (noting that signed consent form, informing

defendant that she had a right to withhold consent, weighed heavily in favor of

finding her consent voluntary). Yet here, as the court has previously noted, Ms. Moe

was sophisticated enough to know the agents needed a search warrant. She also

initially refused consent. Both are indicators that Ms. Moe was aware of at least

some of her rights. All these factors greatly support a finding of voluntariness.

      The magistrate’s recommendation states that though Ms. Moe was detained

in handcuffs for approximately one and one-half hours while at least three agents

spoke to her before she gave consent to search, “the facts show that Ms. Moe was

not questioned about her consent to search during this entire hour and one-half.”

(Recommendation at 17). However, the record clearly indicates that before Agent


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Sandoval arrived and obtained consent, the agents attempted to obtain Ms. Moe’s

consent.     Special Agent Bell testified that he and TFO Langer asked her for

permission to search the residence, which she did not give, expressing fear that

giving consent would put her in danger if the others in the residence found out. (Tr.

1 at 66). Moreover, Ms. Moe’s testimony suggests that the agents asked repeatedly

whether they could “look around.” (Tr. 2 at 167-68). Therefore, there is no question

that Ms. Moe was asked to consent to a search of the residence more than once.

Ms. Moe contradicts Agent Bell’s testimony regarding why she initially hesitated in

giving her consent to the search. She states it was not for fear of her safety but

rather simply because she did not want to upset the other renters in the home. (Tr.

2 at 164).

      The fact that Ms. Moe was asked for consent at least once before Agent

Sandoval arrived does not, under the circumstances, amount to the kind of duress

or coercive tactic that would render the consent involuntary. See Johnson, 495 F.3d

at 542 (finding that although officers requested more than once that defendant

consent to search, in light of the totality of the circumstances, this did not amount to

duress or coercion warranting a finding of involuntary consent). It does not appear

that Ms. Moe was badgered or harassed for her consent. The record demonstrates

that the agents asked her once for her consent at the scene. W hen she refused, they

decided to wait for Agent Sandoval to arrive before making another attempt to obtain

Ms. Moe’s consent.




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       W eighing against a finding of voluntary consent, however, is evidence that Ms.

Moe was questioned for up to an hour and a half before her consent was obtained,

all while she was handcuffed.4 Ms. Moe testified: “they kept asking me questions;

and I would insist – I kept saying where is the warrant. Do you have a warrant. I don’t

understand why you’re here. I’m in handcuffs. And they just kept telling me to hang

tight. Answer my questions.” (Tr. 2 at 161). It is clear that Ms. Moe was frustrated

and confused about the circumstances she faced. (Tr. 2 at 165, 167). The length of

time she remained in handcuffs and the prolonged and repeated questioning all

weigh against a finding of voluntariness.

       However, the questioning of Ms. Moe was not overly zealous or harassing in

nature – other than that it was repetitive and prolonged. Furthermore, the rational

and low-key conversation Ms. Moe had with Agent Sandoval appears to have been

the real catalyst for her giving consent to the search. Therefore, the court finds she

likely was not harassed or intimidated into giving consent by being asked more than

once for consent, by being questioned, and by the fact that she was detained in

handcuffs for over an hour. The court does not believe this constitutes the sort of

repetitive psychological harassment or strong show of force that should tip the

balance in favor of Ms. Moe.



       4
          The defendant claims the detainment of Ms. Moe constituted an unlawful arrest, but he
does not elaborate on this conclusion. The defendant further argues the magistrate failed to take
this into account in determining whether Ms. Moe gave voluntary consent. Though neither party
substantively addresses how to categorize Ms. Moe’s detainment, it is clear that Ms. Moe was
placed in handcuffs for the duration of the search of the residence. The court will consider this fact
in its determination, but declines to categorize Ms. Moe’s detainment in handcuffs as an unlawful
arrest.

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      The court also finds the record devoid of any evidence of physical coercion.

To go without fluids and to be handcuffed for an hour and a half could certainly be

described as an uncomfortable situation. Yet, there is no indication that the agents

directly intended to coerce Ms. Moe into consenting by keeping her in handcuffs and

depriving her of fluids. Indeed, Ms. Moe was provided with a sip of soda when she

told the officers she was thirsty. Under the circumstances, the court concludes there

was no physical coercion involved.

      The defendant asserts the agents threatened they would tear up the house if

they had to obtain a search warrant rather than proceed with Ms. Moe’s consent.

However, it appears that it was only after Ms. Moe brought up her concerns that a

search would tear up the house, that an agent then stated the house would not be

torn apart so long as she agreed to the search. (Tr. 2 at 161). The defendant

contends the magistrate erred by relying on confession law in finding that the agent’s

statements should not be construed as a threat because he was merely playing on

Ms. Moe’s fears and anxieties, not magnifying them. See United States v. Rutledge,

900 F.2d 1127, 1130 (7th Cir. 1990) (“the police are allowed to play on a suspect’s

ignorance, his anxieties, his fears, and his uncertainties; they are just not allowed to

magnify those fears, uncertainties, and so forth to the point where rational decision

becomes impossible.”). The defendant argues confession law is inapplicable here

because Ms. Moe was not a suspect, but rather an innocent person, consenting to

a search, not confessing to a crime. W hile the defendant’s argument holds some

logic, the court finds that reliance on the confession law standard for voluntariness


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is appropriate when determining whether consent was voluntarily given. In both

cases, the inquiry is whether the government or law enforcement has made it

impossible for the individual consenting or confessing to make a rational choice as

to whether to consent or confess. In confession cases, “if the government feeds the

defendant false information that seriously distorts his choice, by promising him that

if he confesses he will be set free, or if the government drugs him so that he cannot

make a conscious choice at all, then the confession must go out.” Id. Similarly, here,

the court asks whether, by confirming that her house would likely be torn up if she

failed to consent to a search, the agent deprived Ms. Moe of the ability to rationally

decide whether to consent. The court finds that confirming her fear did not deprive

Ms. Moe of the ability to make a rational decision. In fact, the agent’s statement was

probably not all that misleading. By consenting, Ms. Moe was able to place a

condition on the extent of the search. Whereas, if the agents obtained a search

warrant and the scope of the warrant allowed for it, the house may have been

subject to some damage from a search. Thus, the court finds that Ms. Moe was not

threatened and, even assuming the agent’s statement impacted Ms. Moe’s decision

to some degree, the statement does not amount to coercion.

      In sum, though there is some evidence weighing against a finding of

voluntariness, the court concludes that the totality of circumstances supports a

finding that the agents obtained consent to search the premises from Ms. Moe




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voluntarily.5 Therefore, the defendant’s amended motion to suppress evidence

obtained as a result of the full search of the residence is denied.

       Accordingly,

       IT IS ORDERED that the January 13, 2011 recommendation of Magistrate

Gorence (Docket #120) that defendant’s amended Motion to Suppress Evidence

Obtained as a Result of the Illegal Search of Medina's Home (Docket #93) be

granted in part and denied in part be and the same is hereby ADOPTED;

       IT IS FURTHER ORDERED that defendant David R. Medina’s amended

motion to suppress evidence obtained during the initial entry and search of the

bathroom be and the same is hereby GRANTED and defendant’s amended motion

to suppress evidence obtained during the second search of the residence (Docket

#93) be and the same is hereby DENIED.

       Counsel for the parties are reminded of their joint obligation to contact the

court with regard to further scheduling in this matter.

       Dated at Milwaukee, W isconsin, this 11th day of March, 2011.

                                                       BY THE COURT:




                                                       J.P. Stadtmueller
                                                       U.S. District Judge



       5
       Because the court has found Ms. Moe’s consent was voluntary, it is unnecessary to
address the government’s assertion regarding inevitable discovery. Even so, the court agrees with
the magistrate that the government has not sufficiently established the applicability of the doctrine.

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